
13 N.Y.2d 846 (1963)
In the Matter of the Probate of the Will of Monroe L. Dix, Deceased. David C. Anchin, Proponent-Appellant-Respondent; Rose Selby, Contestant-Respondent-Appellant; Elynor M. Dix, Appellant.
Court of Appeals of the State of New York.
Argued June 3, 1963.
Decided July 10, 1963.
Samuel Gottlieb, Abraham Wilson, James E. Brearton and Harry Giesow for proponent-appellant-respondent.
George J. Hirsch for contestant-respondent-appellant.
Edward G. Dillon for appellant.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, FOSTER and SCILEPPI.
Order affirmed, with costs to all parties appearing separately and filing separate briefs, payable out of the estate. The jury verdict of fraud and undue influence reversed by the Appellate *848 Division as against the weight of the evidence leaves such issues as much open in a new litigation as they would have been on a new trial had one been necessary here. No opinion.
